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EXHIBIT A
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é Kai H. Richter 4600 IDS Center
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ATTORNEYS AT LAW icichea@ala.com onaeos

January 23, 2018

VIA E-MAIL AND U.S. MAIL

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Re: = Carter, et al. v. CIOX Health, LLC f/k/a HealthPort T. echnologies, LLC, et al.
Court File: 6:14-CV-06275-FPG

Dear Counsel,

Enclosed and served upon you, please find:

1.

2.
3,
4.

Plaintiffs’ Notice of Deposition of CIOX Health, LLC Pursuant To Fed. R. Civ. P.
30(b)(6);

Notice of Deposition of Lori Reel;

Notice of Deposition of Gregory Trerotola; and

Subpoena of Gregory Trerotola.

Please note that we have scheduled CIOX’s 30(b)(6) deposition and Ms. Reel’s deposition on
consecutive dates to coincide with the status conference scheduled for March 20, 2018.

cc:

Sincerely,

NICHOLS KASTER, PLLP

“If
af

Kai Richter

Katherine L. Burns, Esq. (via electronic mail)
Stephen G. Schwarz, Esq. (via electronic mail)

www.nka.com
